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P|aintiff,

VS.
CR. NO. 96-20139-B

JOSE GUADELUPE VERA (FUG)

Defendant.

 

ORDER ON CONT|NUANCE AND SPEClFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on May 31, 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to July 5, 2005 with a M
up report date of Thursdav, June 23, 2005. at 2:30 p.m., in Courtroom 1, 11th Floor
of the Federa| Bui|ding, l\/lemphis, TN.

The period from June 17, 2005 through July 15, 2005 is excludable under 18
U. S. C. § 3161 (h)(8)( B)(lv) because the ends ofjustice served in allowing foraddltlona| time

to prepare outweigh the need fora eedy tria|.

|T |S SO ORDERED this fJ ne, 2005.

UHEL BREEN
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This document entered on the docket sheet in compliance

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UNITED sTEATS DISTRICT COURT - WETRNSE DISITRCT oFTENNESSEE

 

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This notice confirms a copy of the document docketed as number 276 in
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June 3, 2005 to the parties listed.

 

 

Traey Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

